            Case 2:19-cr-00300-JCM-EJY Document 182 Filed 01/11/21 Page 1 of 4



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5
     Attorney for Defendant

6                                  UNITED STATES DISTRICT COURT
7                                          DISTRICT OF NEVADA
8

9    UNITED STATES OF AMERICA,                        ) CASE NO: 2:19-cr-300-03-JCM-EJY
                                                      )
10
                     Plaintiff,                       )
11   vs.                                              )
                                                      )    STIPULATION TO CONTINUE
12                                                    )    SENTENCING
     EDGAR VELASO SAMSON                              )
13
                                                      )
14                                                    )
                 Defendant.                           )
15   ________________________________                 )
16

17           IT IS HEREBY STIPULATED AND AGREED by and between defendant, EDGAR

18   VELASO SAMSON, by and through his counsel, John Million Turco, Esq., and the United States
19   America, by its counsel, Simon F. Kung, Esq., Assistant United States Attorney, that the above-
20
     captioned matter currently scheduled for sentencing on January 13, 2021 at 10:00 a.m. be vacated
21
     and continued for sixty days or for a time suitable to the court.
22
             This Stipulation is entered into for the following reasons:
23

24           1. The parties agree to a continuance;

25           2. Defendant is currently out of custody;
26           3. Counsel for Defendant needs additional time to adequately prepare for sentencing;
27
             4. Counsel for the Defendant has spoken to the Defendant and the Defendant has no objection
28
     to this continuance.
            Case 2:19-cr-00300-JCM-EJY Document 181
                                                182 Filed 01/08/21
                                                          01/11/21 Page 2 of 4



1            5.     Additionally, denial of this request for continuance could result in a miscarriage
2
     of justice.
3
             6.     For all the above- stated reasons, the ends of justice would best be served by a
4
     continuance of the sentencing date by sixty days.
5

6            7.     This is the first request to continue the sentencing date filed herein.

7            DATED this 8th day of January, 2021
8

9
            John Million Turco                             Simon F. Kung
10   /s/___________________________                 /s/_____________________________
     JOHN MILLION TURCO, ESQ.                       SIMON F. KUNG, ESQ.
11
     Attorney for Defendant                         Assistant United States Attorney
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           Case 2:19-cr-00300-JCM-EJY Document 181
                                               182 Filed 01/08/21
                                                         01/11/21 Page 3 of 4



1                                UNITED STATES DISTRICT COURT
2
                                           DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                      ) CASE NO: 2:19-cr-300-03-JCM-EJY
5
                                                    )
                    Plaintiff,                      )
6                                                   )
     vs.                                            ) FINDINGS OF FACT, CONCLUSIONS OF
7                                                   ) LAW, AND ORDER
8
                                                    )
     EDGAR VELASO SAMSON                            )
9                                                   )
                                                    )
10
                 Defendant.                         )
11   ________________________________               )

12                                          FINDINGS OF FACT
13
     Based on the stipulation of counsel, and good cause appearing, the Court finds that:
14
     1. The parties agree to a continuance;
15
     2. Defendant is currently out of custody;
16

17   3. Counsel for Defendant needs additional time to adequately prepare for sentencing;

18   4. Counsel for the Defendant has spoken to the Defendant and the Defendant has no objection to
19
     this continuance.
20
                                           CONCLUSIONS OF LAW
21

22
     1. Denial of this request would result in a miscarriage of justice;

23   2. For all the above-stated reason, the ends of justice would best be served by a continuance of
24   the sentencing date for sixty days.
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           Case 2:19-cr-00300-JCM-EJY Document 182 Filed 01/11/21 Page 4 of 4



1                               UNITED STATES DISTRICT COURT
2
                                      DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                  ) CASE NO: 2:19-cr-300-03-JCM-EJY
5
                                                )
                   Plaintiff,                   )
6    vs.                                        )
                                                )    ORDER
7                                               )
8
     EDGAR VELASO SAMSON                        )
                                                )
9                                               )
                 Defendant.                     )
10
     ________________________________           )
11

12          Accordingly, IT IS SO ORDERED that the sentencing currently scheduled for January
13                                                                     March 24
     13, 2021 at the hour of 10:00 a.m., be vacated and continued to ___________________, 2021, at
14
     the hour of 10:30 a.m.
15
                  January
            DATED this     11,day
                       ______  2021.
                                  of January, 2021
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17                                                       __________________________________
                                                         UNITED STATES DISTRICT JUDGE
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